
PER CURIAM:
Writ granted. The court of appeal's ruling is reversed to the extent it ordered an evidentiary hearing on respondent's claims regarding newly discovered evidence of intellectual disability and his associated claims of ineffective assistance of counsel. The district court correctly denied relief based on the application, answer, and supporting documents. See La.C.Cr.P. art. 929(A) ("If the court determines that the factual and legal issues can be resolved based upon the application and answer, and supporting documents, including relevant transcripts, depositions, and other reliable documents submitted by either party or available to the court, the court may grant or deny relief without further proceedings."); see also State ex rel. Tassin v. Whitley , 602 So.2d 721, 722-723 (La. 1992).
